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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST, and
SUNCOAST FIRST TRUST,

              Plaintiffs,

v.                                                       Case No. 8:19-cv-1210-T-36SPF

CITY OF DUNEDIN, FLORIDA, et al.,

            Defendants.
_______________________________________/

                            NOTICE OF TELEPHONIC HEARING

       PLEASE TAKE NOTICE that a telephonic hearing is scheduled in the above-styled

cause on the date and time set forth below.

       DATE:          Wednesday, May 6, 2020

       TIME:          10:00 a.m.

       HEARING: Plaintiffs’ Motion to Compel Production of Documents and
                Interrogatory Responses (Doc. 36) and Second Motion to Compel
                Production of Documents (Doc. 40)

Counsel shall appear telephonically at the hearing by calling toll-free number 1-888-398-2342
on the day of the hearing and entering access code 1502064 followed by security code 191210
when prompted.


                                    /s Christina K. Ramirez
                                   Christina K. Ramirez
                                   Law Clerk to Honorable Sean P. Flynn
                                   (813) 301-5827
